






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-94-225-CV





THOMAS M. CAMFIELD AND SHARON M. CAMFIELD,



	APPELLANTS


vs.





SEMINOLE PIPELINE COMPANY,



	APPELLEE



                        




FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT


NO. 92-179-C26, HONORABLE BILLY STUBBLEFIELD, JUDGE PRESIDING



                        




PER CURIAM

	Appellants have filed a motion to dismiss this appeal.  The motion is granted.  Tex.
R. App. P. 59(a)(1)(B).

	The appeal is dismissed.


Before Chief Justice Carroll, Justices Kidd and B. A. Smith

Dismissed on Appellants' Motion

Filed:  June 8, 1994

Do Not Publish


